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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF MISSOURI

DELORIS CAIRO,                                    )
                                                  )
               Plaintiff,                         )
                                                  )
       vs.                                        )
                                                  )             4:15-cv-00837
                                                      Case No. ____________________
MEDICREDIT, INC.,                                 )
                                                  )
               Defendant.                         )


                                    NOTICE OF REMOVAL

       Defendant Medicredit, Inc. (“Medicredit”) timely files this Notice of Removal pursuant

to 28 U.S.C. §§ 1331, 1441, and 1446, removing this action from St. Louis County Circuit Court,

Associate Division, to the United States District Court for the Eastern District of Missouri, and in

support of this Notice, states as follows:

       1.      On April 15, 2015, Plaintiff Deloris Cairo (“Plaintiff”) filed a Petition (hereinafter

“Petition”) against Defendant Medicredit in St. Louis County Circuit Court, Associate Division,

State of Missouri (the “State Court”). The Petition contains a claim alleging violations of the

Fair Debt Collection Practices Act (“FDCPA”), 15 U.S.C. § 1692 et seq., and the Telephone

Consumer Protection Act of 1991 (“TCPA”), 47 U.S.C. § 227(3)(b).

       2.      Pursuant to 28 U.S.C. § 1446(a), a copy of the Petition is attached as Exhibit A; a

copy of the County Court Summons is attached as Exhibit B; and a copy of proof of service on

Medicredit, Inc. is attached as Exhibit C.
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       3.        Plaintiff served Medicredit with the summons on April 28, 2015. Accordingly,

Medicredit timely files this Notice within the 30-day limit established by § 1446(b)(1).

       4.        The United States District Court for the Eastern District of Missouri has original

jurisdiction over this matter under 28 U.S.C. § 1331 because Plaintiff’s Petition implicates the

Court’s federal question jurisdiction, specifically the federal FDCPA and TCPA. Ex. A ¶¶ 1, 3,

12, 29, 34-39.

       5.        Removal to the United States District Court for the Eastern District of Missouri is

proper under 28 U.S.C. § 1441(a), which provides that any civil action brought in a County

and/or State Court where the District Courts of the United States have original jurisdiction is

removable to the Division of the United States District Court embracing the place where such

action is pending.

       6.        Accordingly, this Court has subject matter jurisdiction over this action, and this

case is properly removed to this Court.

       7.        As required by 28 U.S.C. § 1446(a), true and correct copies of all process,

pleadings, and orders served upon Defendant are attached as Exhibit D.

       8.        As required by 28 U.S.C. § 1446(d), written notice of the filing of this Notice of

Removal will be promptly served on Plaintiffs’ counsel.

       9.        As required by 28 U.S.C. § 1446(d), Medicredit has filed a Notice of Filing of the

Notice of Removal with the St. Louis County Circuit Court, Associate Division, State of

Missouri.

       WHEREFORE, Defendant Medicredit, Inc. gives notice that the above-entitled action is

removed and transferred forthwith from the St. Louis County Circuit Court, Associate Division,



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State of Missouri to the United States District for the Eastern District of Missouri.



Dated: May 27, 2015                           By: s/ Scott J. Dickenson, Esq.
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                                                 Attorneys for Defendant Medicredit, Inc.


                                 CERTIFICATE OF SERVICE

        I hereby certify that on May 27, 2015, I electronically filed the foregoing with the Clerk
of the Court using the CM/ECF system and via first class mail upon:

       Steven A. Donner
       1108 Olive Street, Suite 200
       St. Louis, MO 63101
       Attorney for Plaintiff

                                              s/ Scott J. Dickenson




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